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   Counsel for Citizens Community Bank

                          UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF IDAHO

   In Re:                                       Case No. 18-01044 JDP

   SAFE HAVEN HEALTH CARE, INC.,                Chapter 11

   Debtor.

         MOTION TO ENFORCE ADEQUATE PROTECTION STIPULATION

            COMES NOW Citizens Community Bank (“Citizens”), a secured creditor, by and

   through its attorney of record, Robert J. Maynes of Maynes Taggart PLLC, and hereby

   moves, pursuant to 11 U.S.C. §§ 105 and 362, and F.R.B.P. Rule 4001(d) and Court’s

   inherent power to enforce its own orders, for enforcement of the Parties’ Stipulation for

   Adequate Protection (Doc. 76) (the “Stipulation”) and this Court’s Order Approving

   Stipulation for Adequate Protection (Doc. 87), as follows:

                                         SUMMARY

            Citizens is requesting one of two alternatives. First, that Debtor be ordered to

   comply with the Stipulation and pay the Court approved and agreed upon adequate

   protection payments. Alternatively, that Citizens be granted the stay relief under its

   previously filed Motion for (Doc. 64) which is incorporated herein by reference.
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                                         BACKGROUND

           1.     Citizens Community Bank (“Citizens”) is a pre-petition lender, secured by a

   properly perfected lien in Debtor’s real property located in Blaine County, Idaho—

   specifically 620 North 6th Street, and 700, 701, 702, 704, 706, 708 and 710 Safe Haven

   Lane, Bellevue, Idaho 83313 and more particularly described as follows:

                   Lots 1A, 2A, 3A, 4A, 5A, 6A, 7A and 8A of Block 1 of Safe Haven
                   Bellevue Amended, Blaine County, Idaho, according to the official plat
                   thereof, recorded as Instrument No. 627421, records of Blaine County,
                   Idaho.

                   Said property was formerly described of record as: Lots 1, 2, 3, 4, 5, 6, 7
                   and 8 of Block 1 of Safe Haven Bellevue, Blaine County, Idaho, according
                   to the official plat thereof, recorded as Instrument No. 607124, records of
                   Blaine County, Idaho.

                   (The “Subject Property”).

           2.     The Deed of Trust on the Subject Property was recorded on January 23,

   2014, as Instrument No. 616388 in the official records of the County Recorder of Blaine

   County, Idaho. Stipulation at p. 1.

           3.      As of August 10, 2018 the unpaid principal balance owed to Citizens was

   $4,106,138.32 and $47,535.47 in accrued interest. Default interest, advances for

   attorney’s fees and costs continue to accrue. Stipulation at p. 3.

           4.     During 2018, the Debtor missed several payments on its loan with Citizens,

   namely the payments for February, April, June, July and August 2018, with each

   payment in the amount of $29,403.47, for a total arrearage of not less than $147,017.35.

   Id. at p. 2.




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            5.    On August 8, 2018, Debtor filed its chapter 11 bankruptcy petition. Dkt.

   No. 1.

            6.    On September 20, 2018, Citizens filed its Motion for Relief from Automatic

   Stay and Notice of Opportunity to Object and Request a Hearing (Doc. 64)(the “Stay

   Relief Motion”) and the supporting Amended Affidavit of Michael B. Schwartz (Doc. 67),

   which are incorporated herein by reference.

            7.    On October 3, 2018, the Debtor and Citizens executed and filed their

   Stipulation for Adequate Protection as Docket 76 (referred to herein as the “Stipulation”).

            8.    On October 4, 2018, the Court granted Debtor’s motion for use of cash

   collateral and entered the Order Granting Motion for Continued Use of Cash Collateral

   (Doc. 78) (the “Cash Collateral Order”).

            9.    Notably, the budget attached as Exhibit A to the Cash Collateral Order

   expressly includes a line item “Mortgage-Citizens Comm. Bank” providing for monthly

   payments of $29,404 from August to December. Doc. 78 at p. 4.

            10.   On October 11, 2018, the Court entered the Order Approving Stipulation for

   Adequate Protection (Doc. 87).

            11.   Pursuant to the Stipulation, the Debtor agreed to pay as adequate protection

   the sum of $29,403.47 a month, with such sums due on or before the first of each month.

   Stipulation (Doc. 76) at p. 4, Paragraph 1.

            12.   In addition, the Debtor agreed to pay adequate protection for the months of

   August, September and October, namely the sum of $88,210.41, on or before ten (10)

   calendar days from Court approval of the Stipulation. Id., Paragraph 2.




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              13.    Ten (10) calendar days from Court approval of the Stipulation expired on

   October 22, 2018 (October 21, 2018 falls on a Sunday).

              14.    Notwithstanding the Stipulation and the Court’s approval of the same,

   Debtor has made no adequate protection payments to Citizens.

              15.    On October 24, 2018,1 Citizens’ counsel provided Notice of Default via

   Email and U.S. Mail to Debtor’s counsel, Messrs. Christensen and Moody. A copy of the

   emailed Notice of Default is attached hereto as Exhibit “A” and incorporated herein by

   reference.

              16.    On November 1, 2018, Debtor’s counsel contacted Citizens’ counsel by

   phone acknowledging the lack of adequate protection payments and seeking to negotiate

   substantial reductions in the sum required under the Stipulation.

              17.    As of the filing of this motion, the outstanding adequate protection

   payments due and owing under the Stipulation total $117,613.88 (for August through

   November) and it is anticipated that the Debtor will similarly decline to honor its

   agreement to make the December adequate protection payment in the amount of

   $29,403.47 which is due December 3, 2018 (December 1st falling on a Saturday).

              18.    As such, at the time of the hearing on this motion, Debtor will owe a total of

   $147,017.35 in unpaid adequate protection payments to Citizens.

                                         POINTS & AUTHORITIES

                       As this Court has previously explained:

                       This Court has repeatedly emphasized the importance of
                       strict compliance with stipulations negotiated by parties in
                       pending bankruptcy cases. . . . Such stipulations play a
                       critical role in the bankruptcy process. If obedience to the
                       promises made in connection with a bankruptcy case is

   1   While the letter is dated October 23, 2018, the email was actually sent on October 24, 2018.

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                    easily excused, negotiations between parties will be chilled
                    and the process of obtaining cooperation and consensus in
                    bankruptcy cases will be impaired. In re Blele, 03.1 IBCR
                    85, 86 (Bankr. D. Idaho 2003)(internal citations omitted).

           Chief Judge Myers has similarly noted the importance of stipulations in the

   bankruptcy cases.

                    Decisional law is rife with observations about the
                    importance of negotiated settlements of disputes. They are,
                    for several prudential reasons, to be encouraged. This
                    might be viewed as particularly true in bankruptcy
                    litigation, where the preciousness of both time and money
                    is accentuated. To be of value, however, settlements must
                    be enforceable and must be enforced. If parties were at
                    liberty to disavow or modify their prior agreements, there
                    would be a serious impact on the utility of freely-bargained
                    settlements of disputes. . . . This Court has therefore been
                    loath to tolerate a party’s attacks on or disavowal of prior
                    settlement agreements. In re AICO Recreational
                    Properties, LLC, 03.2 IBCR 105, 107 (Bankr. D. Idaho
                    2003) (internal citation omitted).2

           The AICO decision is somewhat similar to the current case. In AICO the debtor

   agreed to make monthly adequate protection payments, to file a disclosure statement and

   plan by a date certain, prepare and file operating reports and budgets and to pay post-

   petition property taxes through a stipulation by counsel in open court. Id. at 105. The

   agreement in open court was made and accepted by the Court in January. In May, after

   debtor defaulted under the agreement, the creditor submitted an ex parte motion seeking

   relief from stay, which the Court granted. The debtor appealed the stay relief order and

   also sought relief from the bankruptcy court asserting that the January agreement should

   not be enforced because it was never reduced to writing. Id.

           The AICO Court upheld the agreement, noting “While the agreement . . . , first

   2See also Doi v. Halekulani Corp., 276 F.3d 1131, 1141 (9th Cir. 2002) (enforcing settlement terms placed
   on the record, agreed to in open court and plaintiff refused to sign written agreement and sanctioning
   plaintiff).

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   made on the open record and then memorialized, may have been regretted or even made

   by the lawyer without his client’s consent, it was nevertheless entitled to be enforced, and

   ‘neither ignorance nor carelessness on the part of a litigant or his attorney provides

   grounds for relief . . . .’”. Id. at 107 (citing In re Bish’s Boys, LLC, 02.1 IBCR 6 (Bankr.

   D. Idaho 2002).

          Here, there is a written stipulation, not just an oral agreement on the record. And,

   the Court has approved the Stipulation. Debtor has offered no explanation for its failure

   to abide by its agreement. And even if the Debtor offers some excuse now, the Court

   should be leery of forcing a modification of the parties’ agreement given the chilling

   effect such action will have in this case, and in general on the chapter 11 process.

                                          CONCLUSION

          For the reasons set forth above, Citizens respectfully requests that Debtor be

   ordered to make the payments it previously agreed to, or alternatively, that stay relief be

   entered as to the Subject Property, consistent with the Stipulation and/or the relief

   requested in the Stay Relief Motion.



                  DATED:          November 30, 2018

                                  MAYNES TAGGART PLLC
                                  /s/ Robert J. Maynes___
                                  ROBERT J. MAYNES




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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 30, 2018, I filed a copy of the foregoing
   pleading with the Court via CM/ECF and the following parties are reflected as receiving
   the Notice of Electronic Filing as CM/ECF Registered Participants:

   Matthew Todd Christensen on behalf of Debtor Safe Haven Health Care, Inc.
   mtc@angstman.com, mtcecf@gmail.com; govai@angstman.com;
   megan@angstman.com; ecf@angstman.com; atty_christensen@bluestylus.com

   R Fred Cooper on behalf of Creditor Hands of Hope Home Health and Hospice
   rfclaw@ida.net, rfredcooperlaw@gmail.com

   Gregory L Crockett on behalf of Creditor Bank of Idaho
   gregcrockett@hopkinsroden.com, tammytheiler@hopkinsroden.com

   William M Humphries on behalf of Creditor Internal Revenue Service
   bill.humphries@usdoj.gov, jessica.black@usdoj.gov

   William M Humphries on behalf of Creditor U.S. Small Business Administration
   bill.humphries@usdoj.gov, jessica.black@usdoj.gov

   John J Janis on behalf of Creditor Betty Grant - johnjanis@aol.com

   John F Kurtz, Jr on behalf of Creditor Idaho Associates, LLC; Omega Healthcare
   Investors, Inc. and Pocatello Idaho Property, LLC -
   jkurtz@hawleytroxell.com, tnmiller@hawleytroxell.com

   David Henry Leigh on behalf of Creditor ZB, N.A. – dleigh@rqn.com,
   dburton@rqn.com; docket@rqn.com

   Chad Moody on behalf of Debtor Safe Haven Health Care, Inc.
   chad@angstman.com, govai@angstman.com; megan@angstman.com;
   ecf@angstman.com

   David Wayne Newman on behalf of U.S. Trustee US Trustee
   ustp.region18.bs.ecf@usdoj.gov

   Randall A Peterman on behalf of Creditor ZB, N.A.
   rap@givenspursley.com, kad@givenspursley.com;wandawhite@givenspursley.com

   Janine Patrice Reynard on behalf of Creditor Rebecca Taylor
   jpr@magicvalleylaw.com

   US Trustee - ustp.region18.bs.ecf@usdoj.gov



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   Brent Russel Wilson on behalf of Creditor Idaho Associates, LLC, Omega Healthcare
   Investors, Inc., and Pocatello Idaho Property, LLC -
   bwilson@hawleytroxell.com, cdavenport@hawleytroxell.com

   And as otherwise reflected on the Court’s Notice of Electronic filing.

            I HEREBY FURTHER CERTIFY that on November 30, 2018, I served a copy
   of the attached document on the Court and on the following party via postage prepaid,
   first class, U.S. Mail:

   Safe Haven Health Care, Inc.
   Attn: Scott Burpee, Pres.
   8050 West Northview
   Boise, ID 83704

   Eastern Idaho Development Corporation
   Attn: Samantha Damron, RA and Director
   1651 Alvin Ricken Drive
   Pocatello, ID 83201

   And on the Twenty Largest Unsecured Creditors as set forth on the following page.

                                  /s/ Robert J. Maynes
                                  Robert J. Maynes




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State of Idaho Medicaid            Strategies 360 Inc.                  AACO A-1 Health Care Service
PO Box 83720                       1505 Westlake Ave. North Ste. 1000   PO Box 75111
Boise, ID 83720-0009               Seattle, WA 98109                    Seattle, WA 98175-0111


AAMCO Medical, LLC                 Blaine County                        Colonial Funding Network
9847 S. 500 W., Ste. 200           219 First Ave. South, Ste. 102       120 West 45th
Sandy, UT 84070-2576               Hailey, ID 83333                     New York, NY 10036


                                                                        ID Dept. of Health & Welfare
Hansen Hunter and Co.              Holland and Hart
                                                                        Central Revenue Unit
8930 SW Gemini Drive               800 W. Main Street #1750
                                                                        PO Box 83720
Beaverton, OR 97008                Boise, ID 83702
                                                                        Boise, ID 83720-0036


Independence Rehab                 McKesson Medical-Surgical            Medsource Incorporated
5314 River Run Dr., Ste. 140       8121 10th Ave. N.                    10520 South 700 East, Ste. 210
Provo, UT 84604                    Minneapolis, MN 55427                Sandy, UT 84070


Noridian Healthcare Solution       Omega Mental Health                  Sage Health Care PLLC
PO Box 6722                        5985 W. State Street                 413 N. Allumbaugh St. Ste. 101
Fargo, ND 58108-6722               Boise, ID 83703                      Boise, ID 83704
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  From:    Theresa Carson tcarson@maynestaggart.com
Subject:   Default under Stipulation - Safe Haven Health Care
   Date:   October 24, 2018 at 11:06 AM
     To:   mtc@angstman.com, Chad Moody chad@angstman.com
    Cc:    Robert Maynes rmaynes@maynestaggart.com


       Gentlemen, Mr. Maynes has asked that I forward the attached for your review. The original is in the mail.

       Theresa G. Carson
       Legal Assistant
       Maynes Taggart PLLC
       (208) 552-6442 (Phone)
       (208) 524-6095 (Fax)
       tcarson@maynestaggart.com
       (PLEASE NOTE MY NEW EMAIL ADDRESS)

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       the purpose of avoiding federal tax penalties that may be imposed or for the purpose of promoting,
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